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                                  UNITED STATES BANKRUPTCY COURT
                                   SOUTHERN DISTRICT OF FLORIDA
                                     FORT LAUDERDALE DIVISION

                                                                                    CASE NO.: 22-14766-BKC-SMG
                                                                                 PROCEEDING UNDER CHAPTER 13

IN RE:

RALPH LEVI SANDERS, JR.
XXX-XX-6171

DEBTOR
_____________________________/

                             NOTICE OF CONTINUED CONFIRMATION HEARING

YOU ARE HEREBY NOTIFIED that the Confirmation Hearing has been continued to:

Date:           December 8, 2022
Time:           9:00 AM
Location:       Video Conference by Zoom for Government

The hearing scheduled by this notice will take place only            by video conference. DO NOT GO TO THE
COURTHOUSE. Attorneys must advise their clients not to               appear at the courthouse. Although conducted
by video conference, the hearing is a court proceeding.               The formalities of the courtroom must be
observed. All participants must dress appropriately, exercise         civility, and otherwise conduct themselves in
a manner consistent with the dignity of the Court.

To participate in the hearing, you must register in advance no later than 3:00 p.m., one business day before
the date of the hearing. To register, click on or enter the following registration link in a browser:

https://www.zoomgov.com/meeting/register/vJIsceqsqzMtG7hezfpqRtlAFR1SzvHObJU

MICHAEL J. BROOKS, ESQUIRE, must:

   (a)      serve a copy of this notice of hearing and, unless previously served, the above-described
            document(s) on all required parties within the time frame required by the Federal Rules of
            Bankruptcy Procedure, the local rules of this Court, and orders of the Court, and

   (b)      file a certificate of service as required under Local Rules 2002-1(F) and 9073-1(B).

Any party who fails to properly serve any pleading or other paper may be denied the opportunity to be
heard thereon.

PLEASE NOTE: No person may record the proceedings from any location by any means. The audio
recording maintained by the Court will be the sole basis for creation of a transcript that constitutes the
official record of the hearing.
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                                                                                 CASE NO.: 22-14766-BKC-SMG



PLEASE TAKE NOTICE the Court may dismiss the above-referenced case for failure to propose a
confirmable plan or for any other reason deemed necessary by the Court without further notice.

    I HEREBY CERTIFY that I am admitted to the Bar of the United States District Court for the
Southern District of Florida and I am in compliance with the additional qualifications to practice in this
Court as set forth in Local Rule 2090-1(A) and that a true and correct copy of this Notice of Continued
Confirmation Hearing was served, via U.S. first class mail, certified mail and/or CM/ECF, upon the
parties listed on the attached service list this 17th day of November, 2022.


                                                                 /s/ Robin R. Weiner
                                                                 _____________________________________
                                                                 ROBIN R. WEINER, ESQUIRE
                                                                 STANDING CHAPTER 13 TRUSTEE
                                                                 P.O. BOX 559007
                                                                 FORT LAUDERDALE, FL 33355-9007
                                                                 TELEPHONE: 954-382-2001
                                                                 FLORIDA BAR NO.: 861154
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                                                     NOTICE OF CONTINUED CONFIRMATION HEARING
                                                                      CASE NO.: 22-14766-BKC-SMG

                                     SERVICE LIST

COPIES FURNISHED TO:

DEBTOR
RALPH LEVI SANDERS, JR.
561 SW 60 AVE.
PLANTATION, FL 33317

ATTORNEY FOR DEBTOR
MICHAEL J. BROOKS, ESQUIRE
8660 WEST FLAGLER STREET
MIAMI, FL 33144

MICHAEL J. BROOKS, ESQUIRE IS HEREBY DIRECTED TO MAIL A CONFORMED COPY OF
THIS NOTICE TO ALL CREDITORS AND INTERESTED PARTIES IMMEDIATELY UPON RECEIPT
THEREOF.
